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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                                                    CASE NO.: 21-16573-BKC-LMI
                                                                  PROCEEDING UNDER CHAPTER 13

IN RE:

CHRISTOPHER NIMETH

_____________________________/
DEBTOR

                      NOTICE OF CONTINUED CONFIRMATION HEARING

    YOU ARE HEREBY NOTIFIED that the Confirmation Hearing has been continued to January 04,
2022 at 01:35 pm. The hearing will be conducted by video conference. For instructions, please refer to
the General Procedures for Hearings By Video Conference on the Court’s website. To participate in the
hearing, you must register for the video conference no later than 3:00 pm one business day before the
date of the hearing. To participate, click on the following link or manually enter the following link in a
browser: https://www.zoomgov.com/meeting/register/vJItduiqqz4iGPWRbYC6YTes9xqj5mxBNU4

   I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Continued
Confirmation Hearing was mailed to those parties listed below on this 15th day of December, 2021.




                                                         /s/ Nancy K. Neidich
                                                        _____________________________________
                                                         NANCY K. NEIDICH, ESQUIRE
                                                         STANDING CHAPTER 13 TRUSTEE
                                                         P.O. BOX 279806
                                                         MIRAMAR, FL 33027-9806
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                                                   NOTICE OF CONTINUED CONFIRMATION HEARING
                                                                     CASE NO.: 21-16573-BKC-LMI

                                    SERVICE LIST

COPIES FURNISHED TO:

NANCY K. NEIDICH
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806
MIRAMAR, FL 33027-9806

DEBTOR
CHRISTOPHER NIMETH
8431 SW 27 LANE
MIAMI, FL 33155

ATTORNEY FOR DEBTOR
JOSE P. FUNCIA, ESQUIRE
9555 N KENDALL DRIVE
SUITE 211
MIAMI, FL 33176

JOSE P. FUNCIA, ESQUIRE IS HEREBY DIRECTED TO MAIL A CONFORMED COPY OF THIS
NOTICE TO ALL CREDITORS AND INTERESTED PARTIES IMMEDIATELY UPON RECEIPT
THEREOF.
